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 4
     Attorney for Defendant
 5   Son Nguyen
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                     )   Case No. Cr.S-08-390 GEB
     UNITED STATES OF AMERICA,         )
10                                     )   STIPULATION AND PROPOSED ORDER
               Plaintiff,              )   CONTINUING STATUS
11                                     )
         vs.                           )   Date: February 18, 2011
12                                     )   Time: 9:00 AM
                                       )   Court: GEB
13   SON NGUYEN,                       )
     TUY NGUYEN                        )
14                                     )
               Defendant               )
15

16
                       STIPULATION TO CONTINUE HEARING
17
         Pursuant to agreement between the parties it is hereby
18

19   stipulated that status conference in the above referenced matter

20   be continued to February 11, 2011 at 9:00 AM.

21       The basis for this request is that defense counsel are

22   continuing to negotiate with the government to resolve this

23   matter. With respect to defendant Son Nguyen a Preliminary PSR
24   was just received and forms the basis for new discussions. It is
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     hoped and anticipated that resolution will occur by February 18,
 1
     2011.
 2
         IT IS FURTHER STIPULATED that the period from December 17,
 3

 4   2010, (the date set for the previous status conference) through

 5   and including February 18, 2011, be excluded in computing the

 6   time within which trial must commence under the Speedy Trial

 7   Act, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4

 8   for continuity and preparation of counsel.
 9

10
     DATED: January 4, 2011                     Respectfully submitted
11

12
                                                /S/MICHAEL B. BIGELOW
13                                              Michael B. Bigelow
                                                Attorney for Son Nguyen
14

15   IT IS SO STIPULATED

16

17   /S/MICHAEL BECKWITH, Esq.,
     Michael Beckwith, Esq.,                         Dated: January 4, 2011
18
     Assistant United States Attorney
     Attorney for Plaintiff
19

20
     /S/MICHAEL B. BIGELOW, Esq.,                    Dated: January 4, 2011
21   Michael B. Bigelow
     Attorney for Defendant
22   Son Nguyen

23
     /S/DAVID W. DRATMAN, Esq.,                      Dated: January 4, 2011
24   David W. Dratman, Esq.,
     Attorney for Defendant
25   Tuy Nguyen



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 5                                        ORDER

 6                IT IS ORDERED: that pursuant to stipulation the above

 7   referenced matter shall be continued until February 18, 2011 at

 8   9:00 PM, and time excluded for the reasons set forth above.
 9   1/5/11
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                                       GARLAND E. BURRELL, JR.
11                                     United States District Judge

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